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      PAY TO THE     Glen Lerner and Associates
      ORDER   OF




        Sixteen Thousand Six Hundred Sbdy-Five
                                                                                                                           DOLLARS
                   Glen Lemer and Associates




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      ANDIY LERNER tIC                                                                                                      130 8
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